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                    SHORELINE POOLS, INC.

                                 AND

               SHORELINE POOLS SERVICES, INC.

                    EMPLOYEE HANDBOOK



                         Revised: April 2, 2019
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         Operate the vehicle in a safe and responsible manner. Reckless driving, speeding and/or
          unsafe driving is not permitted.

         Obey all driving and parking rules and regulations.

         Wear a seat belt and require all passengers to wear a seat belt whenever operating the
          vehicle.

         Do not use computers, cell phones, smart phones, iPods or other electronics devices while
          driving. If it is necessary to use such a device, pull over and stop the vehicle before using
          the device.

         Inspect the vehicle before leaving Shoreline’s premises each day.

         Use the vehicle solely for traveling to and from work locations and for picking up lunch at
          a store that is close to the employee’s work location.

         Be aware of any comply with the strict safety requirements related to the transportation
          and use of swimming pool chemicals.

         Keep the vehicle organized and clean.

         Pack and secure all materials and equipment inside the vehicle.

         Report any accident to the employee’s supervisor and the CFO.

         Report any problems regarding the vehicle to the employee’s supervisor immediately.

         Report any change in the employee’s driver’s license status (including suspension) to the
          employee’s supervisor immediately. Employees may not operate company vehicles unless
          they are permitted to do so under applicable law.

         Be courteous to other drivers at all times.

Employees who violate this policy will be subject to disciplinary action, up to and including
termination of employment.

I.        Confidentiality

While employed by Shoreline, employees may be exposed to confidential and proprietary
information regarding Shoreline. This information may include but is not limited to personal
information regarding employees or customers of Shoreline and operational and financial
information about Shoreline.

During their employment with Shoreline and indefinitely thereafter, employees are required to
hold and keep secret Shoreline’s confidential and proprietary information (including Shoreline
databases) and not disclose or use Shoreline’s confidential and proprietary information, other than



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as required by applicable law or for the proper performance of duties and responsibilities to
Shoreline.

This policy is not intended to interfere with an employee’s rights under the National Labor
Relations Act and should not be construed as preventing employees from discussing their terms
and conditions of employment with other employees or third parties. Further, this policy is not
intended to prevent an employee from cooperating in any governmental proceeding or from
providing truthful testimony pursuant to a legally-issued subpoena or filing a charge with or
participating in any investigation or proceeding conducted by the Equal Employment Opportunity
Commission or other governmental or regulatory authority. In the event an employee is compelled
to participate in any governmental or other legal proceeding, the employee is required to provide
Shoreline with written notice of any request to so cooperate or provide testimony within one day
of being requested to do so, along with a copy of any such request.

J.     Phone, Internet and Social Media Policy

This policy is intended to provide employees with information on the appropriate use of
technology during working hours and appropriate use of social media sites during non-working
hours. Violation of this policy may result in disciplinary action, up to and including termination
of employment.

Telephones & Mobile Devices

Shoreline’s telephones and mobile devices are to be used for Shoreline business. Personal use of
Shoreline’s telephones and mobile devices should be kept to a minimum and should not interfere
with an employee’s job duties.

Computers and E-mail

Shoreline’s computers are provided for the convenience and efficiency of employees for
performing job-related duties. Personal use of Shoreline’s computers should be kept to a minimum
and should not interfere with an employee’s job duties. Due to numerous issues that may arise if
software is downloaded onto Shoreline’s computers, including issues with viruses, prior approval
from the technology administrator is required before any software is installed on Shoreline
computers.

Some employees have e-mail accounts through Shoreline’s e-mail system. Shoreline’s e-mail
system is for job-related duties. Personal use of Shoreline’s email system should be kept to a
minimum and should not interfere with an employee’s job duties. Furthermore, all e-mails sent
on Shoreline’s e-mail system should be professional and appropriate. The following types of
messages are examples of messages not permitted on Shoreline’s e-mail systems:

          Messages with threatening, harassing, abusive, embarrassing or vulgar content or
           implication, racial or sexual slurs, or anything else contrary to any Shoreline policy.

          Messages regarding any type of non-Shoreline related commercial transaction,
           including, without limitation, offers to sell or trade goods.



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